   Case: 1:22-cv-03189 Document #: 226 Filed: 01/17/25 Page 1 of 6 PageID #:4324




                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION


 ANTHONY DALE, BRETT JACKSON,
 JOHNNA FOX, BENJAMIN
 BORROWMAN, ANN LAMBERT,                                 Case No. 1:22-cv-03189
 ROBERT ANDERSON, and CHAD
 HOHENBERY on behalf of themselves and                   Hon. Thomas M. Durkin
 all others similarly situated,
                                                         Hon. Jeffrey Cole
                          Plaintiffs,

                   v.                                    JOINT STATUS REPORT

 DEUTSCHE TELEKOM AG, and T-
 MOBILE US, INC.,

                           Defendants.




             Plaintiffs and Defendant T-Mobile US, Inc. (“T-Mobile”), together “the parties,”

respectfully submit this Joint Status Report to update the Court on their discovery progress.

        I.          Party Discovery

             As of the date of this status report, T-Mobile has produced over 4 million documents to

Plaintiffs. T-Mobile made its first custodial production on December 31, 2024 and has produced

over 85,000 custodial documents since then. It anticipates making additional custodial productions

this month. T-Mobile also continues to make progress with its structured data productions. It

anticipates making another such production before the end of the month.

             Plaintiffs have reviewed more than 20,000 custodial documents and have produced 1,204

documents following review. Plaintiffs anticipate an additional production of documents this

week.




                                                     1
   Case: 1:22-cv-03189 Document #: 226 Filed: 01/17/25 Page 2 of 6 PageID #:4325




       II.          Third-Party Discovery

             Since third parties (including SoftBank, Verizon, AT&T, and DISH) reengaged with

Plaintiffs in the summer of 2024, Plaintiffs have attempted in good faith to negotiate with each.

Negotiations with each third party have taken longer than anticipated, creating unforeseen delays.

By way of example, some negotiating points have emerged more recently: As described below,

some third parties are asserting certain data security concerns that may necessitate an amendment

to the Protective Order. Plaintiffs first learned of those security concerns in November 2024.

             However, Plaintiffs wish to emphasize that the respective postures of negotiations with

each third party are not the same. While negotiations with Verizon and SoftBank are ongoing,

Plaintiffs are hopeful that compromises will be reached and judicial involvement can be avoided.

Negotiations with other third parties, in particular DISH, have been less productive. Plaintiffs are

attempting to reach a compromise with DISH and AT&T, but will otherwise need to file a motion

to enforce the subpoena. Plaintiffs anticipate filing one or more motions to enforce their subpoenas

in January or February.

             T-Mobile has served thirteen subpoenas to date and anticipates serving additional

subpoenas in January. T-Mobile’s discussions with third parties are ongoing. T-Mobile does not

have any issues that require the Court’s intervention at this time.

III.         Confidentiality Order

             The parties wish to apprise the Court of a forthcoming amendment to the Confidentiality

Order. Some third parties have raised data security concerns with respect to structured data

requests and productions and requested a modification of the Confidentiality Order to address

those concerns. The parties and third parties are still negotiating and anticipate filing a motion to

amend the Confidentiality Order. The parties will keep the Court apprised of any progress.




                                                    2
   Case: 1:22-cv-03189 Document #: 226 Filed: 01/17/25 Page 3 of 6 PageID #:4326




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                                         3
Case: 1:22-cv-03189 Document #: 226 Filed: 01/17/25 Page 4 of 6 PageID #:4327




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                                      4
Case: 1:22-cv-03189 Document #: 226 Filed: 01/17/25 Page 5 of 6 PageID #:4328




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                                      5
   Case: 1:22-cv-03189 Document #: 226 Filed: 01/17/25 Page 6 of 6 PageID #:4329




                                CERTIFICATE OF SERVICE
       I, Brendan P. Glackin, an attorney, hereby certify that this Joint Status Report was

electronically filed on January 17, 2025, and will be served electronically via the Court’s ECF

Notice system upon the registered parties of record.

                                               Respectfully submitted,

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                                                6
